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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ILLINOIS
                      EASTERN DIVISION

Wendell Hudson,                          )
                                         )
                        Plaintiff,       )
                                         )
-vs-                                     )   No.
                                         )
City of Chicago, Chicago Police          )   (jury demand)
Officer Francis N De Peder and           )
Chicago Police Officer Homero            )
Ramirez,                                 )
                                         )
                        Defendants.      )

                                     COMPLAINT
       Plaintiff, by counsel, alleges as follows:

       1.     This is a civil action arising under 42 U.S.C. § 1983. The

jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1343.

       2.     Plaintiff Wendell Hudson is a resident of the Northern

District of Illinois.

       3.     Defendant City of Chicago is an Illinois municipal corporation

joined as the potential indemnifier.

       4.     Defendant Chicago Police Officer Francis De Peder and

Hector Ramirez were at all relevant times acting under color of their

offices as Chicago police officers.
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      5.     On November 30, 1992, the defendant officers fabricated

evidence, thereby causing plaintiff to be held in custody, prosecuted, and

convicted of an offense. These acts included preparing police reports

containing the material false statements that they had stopped plaintiff for

a traffic violation and that plaintiff had admitted to the knowing possession

of stolen property.

      6.     Plaintiff had not been operating a motor vehicle. The

defendant officers’ statements that that they stopped plaintiff for a traffic

violation were false.

      7.     Plaintiff did not admit to the knowing possession of stolen

property. The defendant officers’ statements to the contrary were false.

      8.     As a result of the above described wrongful acts, plaintiff was

deprived of his liberty as a pre-trial detainee, convicted of felony theft, and

then confined in the penitentiary for several years.

      9.     The Circuit Court of Cook County set aside plaintiff’s

conviction aside on May 4, 2018.

      10.    As a result of the foregoing, plaintiff was deprived of rights

secured by the Fourth and Fourteenth Amendments to the Constitution of

the United States.

      11.    Plaintiff hereby demands trial by jury.




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      Accordingly, plaintiff requests that appropriate compensatory and

punitive damages be awarded against the defendant officers as well as fees

and costs, and that the Court declare that the City of Chicago is liable as

the indemnifier for all compensatory damages, fees, and costs.

                                  /s/ Kenneth N. Flaxman
                                      KENNETH N. FLAXMAN
                                      ARDC No. 830399
                                      Joel A. Flaxman
                                      200 S Michigan Ave Ste 201
                                      Chicago, IL 60604-2430
                                      (312) 427-3200
                                      Attorneys for Plaintiff




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